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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

LOST LAKE HOLDINGS LLC et al.


                             Plaintiffs,

       vs                                         Civ. Action No. 7:22-cv-10656
TOWN OF FORESTBURGH, et al.


                             Defendants.




   MOTION FOR PRELIMINARY INJUNCTION PURSUANT TO RULE 65 OF THE
                FEDERAL RULES OF CIVIL PROCEDURE

       TO:     Gerald Stephen Smith, Jr.
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               Attorneys for Defendants


       PLEASE TAKE NOTICE that the Plaintiffs, Lost Lake Holdings LLC, Mishconos

Mazah LLC, Rabbi Mordechai Halberstam, and Rose Halberstam through their attorneys Eric W.

Treene and Roman P. Storzer of STORZER AND ASSOCIATES, P.C. and Steven Barshov of

SIVE, PAGET & RIESEL, P.C., shall move this Court, before the Honorable Vincent L.

Briccetti, at the United States Courthouse, 300 Quarropas Street, White Plains, New York 10601,


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at a date and time set by the Court, for a Preliminary Injunction pursuant to Rule 65 of the

Federal Rules of Civil Procedure seeking preliminary orders as follows:

           1. Enjoining the Defendants, THE TOWN OF FORESTBURGH and THE

              FORESTBURGH TOWN BOARD, and their officials and employees from

              enforcing or implementing:

                  a. The February 1, 2023 Notice of Violation, Stop Work Order, and

                      Compliance Order regarding All Lots and Property Subject to the Lost

                      Lake Resort 2011 PDD Approval Resolution and the 2013 Conditional

                      Final Site Plan / Subdivision Approval issued by the Town of Forestburgh

                      to the Plaintiffs;

                  b. The Town of Forestburgh’s Resolution 2023-02 entitled “Requiring

                      Supplemental Environmental Review and Authorizing Legal Action

                      Against the Owners of the Lost Lake Resort Property Located on Cold

                      Spring Road, Town of Forestburgh” adopted on or about February 2, 2023;

                      and

                  c. The Town of Forestburgh’s Resolution entitled “Adopting SEQRA

                      Positive Declaration and Requiring the Preparation of a Supplemental

                      Environmental Impact Statement for the Lost Lake Resort Property

                      Located on Cold Spring Road, Town of Forestburgh” adopted on or about

                      March 30, 2023 regarding the Lost Lake Project.

           2. Enjoining the Defendants, THE TOWN OF FORESTBURGH and THE

              FORESTBURGH TOWN BOARD aka TOWN OF FORESTBURGH TOWN

              BOARD, and their officials and employees from prosecuting and/or seeking any




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              relief adverse to the Plaintiffs in the civil action captioned Town of Forestburgh, et

              al. v. Lost Lake Holdings LLC, et al., Index No. E2023-186 (Sup. Ct. Sullivan Cy.,

              Complaint filed Feb. 3, 2023).

          3. Enjoining the Defendants, THE TOWN OF FORESTBURGH and THE

              FORESTBURGH TOWN BOARD, and their officials and employees, from

              taking any action and efforts in furtherance of any of the matters listed in

              paragraphs 1 and 2 above.

          4. Granting such other, further and different relief that this Court deems appropriate.

       Plaintiffs do hereby incorporate their Memorandum and Declarations submitted in

support of this Motion as well as Plaintiffs’ First Amended Complaint (ECF No. 60).

       Plaintiffs respectfully request oral argument with respect to this Motion.

Dated: June 1, 2023
                                                 STORZER & ASSOCIATES, P.C.



                                           By: /s/ Eric W. Treene
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                                                 SIVE, PAGET & RIESEL, P.C.



                                           By:    /s/ Steven Barshov
                                                 STEVEN BARSHOV (Bar No. SB9809)
                                                 Sive, Paget & Riesel, P.C.


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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2023, a copy of the foregoing Motion For Preliminary

Injunction pursuant to Rule 65 of the Federal Rules of Civil Procedure, supporting Declarations,

Exhibits and Memorandum were filed electronically and notice of this filing will be sent by the

Court’s electronic filing system. Parties may access this filing through the Court’s CM/ECF

system.



                                                           /s/ Eric W. Treene
                                                            Eric W. Treene




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